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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


Jordella Robinson, Individually and as a representative
of a class of similarly situated borrowers,

                       Plaintiffs                            Civil Action No. 2:15-cv-04123
v.
                                                             Section R – Judge Sarah S. Vance
Standard Mortgage Corporation and Standard
Mortgage Insurance Agency, Inc.,                             Magistrate 2 – Joseph C. Wilkinson, Jr.

                       Defendants

      DEFENDANTS’ MOTION FOR LEAVE TO FILE REPLY MEMORANDUM

       NOW INTO COURT, through undersigned counsel, come Defendants, Standard Mortgage

Corporation (“SMC”) and Standard Mortgage Insurance Agency, Inc., (“SMIA”) (collectively,

“Standard Mortgage”) who respectfully move this Court for leave to file their reply memorandum

in support of the Rule 12(b)(6) Motion to Dismiss the remaining state law claims filed by Plaintiff,

Jordella Robinson (“Robinson”).

       Robinson’s original complaint was filed on September 3, 2015, asserting claims for

violation of the Racketeer Influenced Corrupt Organization Act, 18 U.S.C. §§ 1961-1968

(“RICO”) and state law claims for breach of the implied covenant of good faith and fair dealing

and unjust enrichment. (R. Doc. 1).

       In light of the various pleading deficiencies raised in Standard Mortgage’s initial Rule

12(b)(6) Motion to Dismiss (R. Doc. 13), Robinson filed the Amended Complaint on January 6,

2016. (R. Doc. 38). Given her failure to cure the facially deficient RICO allegations, and in order

to preserve arguments made in the previous motion to dismiss, Standard Mortgage filed a Rule

12(b)(6) Motion to Dismiss the Amended Civil RICO Claims on January 20, 2016. (R. Doc. 39).



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          On June 7, 2016, this Court granted Standard Mortgage’s Rule 12(b)(6) Motion and

dismissed Robinson’s federal civil RICO claims for failure to state a claim upon which relief can

be granted. (R. Doc. 55).

          The only remaining claims in Robinson’s Amended Complaint are Louisiana state law

claims for breach of the implied covenant of good faith and fair dealing (Count III) and unjust

enrichment (Counts IV and V). On July 12, 2016, recognizing that the Amended Complaint still

fails to state any claim upon which relief can be granted, Standard Mortgage filed the Rule 12(b)(6)

Motion to Dismiss Robinson’s remaining state law claims. (R. Doc. 58). Robinson responded with

a memorandum in opposition on July 26, 2016, in which she urges this Court to ignore Standard

Mortgage’s Rule 12(b)(6) Motion and attempts to assert an entirely new breach of contract claim

unsupported by the allegations on the face of the Amended Complaint. (R. Doc. 59).

          Standard Mortgage respectfully requests leave to file the attached Reply Memorandum,

which is intended to assist the Court in resolving the issues presented by Robinson’s Opposition

and to bring parity to the briefing process so that Standard Mortgage has the opportunity to respond

to the arguments and entirely new allegations raised for the first time in Robinson’s Opposition.

          WHEREFORE, Standard Mortgage prays that this Honorable Court grant it leave to file

its Reply Memorandum in Support of the Rule 12(b)(6) Motion to Dismiss the remaining state law

claims.

                                              Respectfully submitted,

                                              s/ John Anthony Dunlap
                                              ______________________________________
                                              CARVER, DARDEN, KORETZKY, TESSIER,
                                              FINN, BLOSSMAN & AREAUX, LLC
                                              Frank A. Tessier (# 9749)
                                              John Anthony Dunlap (# 18190) T.A.
                                              Russell L. Foster (# 26643)
                                              Haley E. Nix (# 36606)

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                                                Attorneys for Standard Mortgage Corporation and
                                                Standard Mortgage Insurance Agency, Inc.


                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of August, 2016, I electronically filed the foregoing

with the clerk of court by using the CM/ECF system of the Eastern District of Louisiana, which

will send those of electronic filing to counsel of record for all parties in this case.

                                                        s/ John Anthony Dunlap

                                                        John Anthony Dunlap




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